                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 ROGER JOHNSON                                                                          PLAINTIFF

 vs.                                             CIVIL ACTION No.: 3:04-CV-393-HTW-FKB

 WILLIE E. JOHNSON, et al                                                           DEFENDANTS

                           ORDER GRANTING ATTORNEY FEES

        BEFORE THIS COURT is the request for attorney fees filed by the defendants in their

response to plaintiff’s Motion for New Trial [315] and Motion for Judgment as a Matter of Law

[316]. [Docket no. 319]. By their motion, defendants ask this court to grant them reasonable

attorney fees because they had to respond to allegedly frivolous motions. Plaintiff does not address

defendants’ request for attorney fees, he merely repeats his prior arguments, none of which touches

on attorney fees.

        This court notes that at the close of the jury trial of this matter, this court awarded

defendants prevailing party status and, as such, granted attorney fees to defendants upon a filing

of an itemized bill of costs and fees. Defendants, at that time, decided to forego attorney fees.

Shortly following the entry of the final judgment in this lawsuit, plaintiff filed his first consignment

of post-judgment motions, which this court denied, warning plaintiff that the United States Fifth

Circuit Court of Appeals had already addressed his contentions and found his arguments wanting.

See [Docket no. 314]. Undeterred

        The United States Fifth Circuit Court of Appeals has cautioned pro se plaintiffs before that

it would not impose sanctions on the first iteration of frivolous filings, but would do so if the pro

se plaintiff continued to file frivolous motions. See Grigsby v. Potter, 291 Fed. App’x 673 (5th Cir.

2008). This court has already so cautioned the instant pro se plaintiff and warned him that further



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frivolity would pose sanctionable conduct. This court further cautioned plaintiff that he shall not

file any more motions challenging whether the lawsuit sub judice presented a “condition of

confinement” or “an episodic act or omission.”1 Undeterred by this court’s admonition, plaintiff

again filed several motions challenging which standard applied and this court denied such motions

as frivolous. See [Docket no. 326].

        IT IS, THEREFORE, ORDERED that defendants’ request for attorney fees is hereby

GRANTED and defendants must submit their bill of costs and attorney fees within thirty (30) days

of this order for this court’s review and approval.

        IT IS FURTHER ORDERED that defendants’ bill of costs and attorney fees encompasses

only their responses to plaintiffs’ motions at [Docket nos. 315, 316, 321, and 323].

        SO ORDERED this the 8th day of March, 2019.

                                            s/ HENRY T. WINGATE
                                            UNITED STATES DISTRICT COURT JUDGE




1
 The United States Fifth Circuit Court of Appeals has already ruled that this lawsuit presented “an episodic act or
omission”. See Johnson v. Johnson, 694 F. App'x 945, 946 (5th Cir. 2017).

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